                STATEMENT IN SUPPORT OF CRIMINAL COMPLAINT

I, Christopher R. Potts, having been duly sworn, hereby depose and swear to the following:
        1.     I, Christopher R. Potts, am a Special Agent with the Federal Bureau of
Investigation (“FBI”), and have been so employed since 2009. I am currently assigned to the
Memphis Division, Nashville Resident Agency, and am assigned to the Joint Terrorism Task
Force.

       2.      As an FBI agent, I have attended training at the FBI Academy, located in
Quantico, Virginia. I have been trained in conducting a variety of investigations, including
counterterrorism investigations designed to detect, penetrate, disrupt, and dismantle threats posed
by domestic and international terrorists to the national security of the United States homeland
and interests abroad. I have received formal and informal training regarding violations of
Federal laws related to domestic and international terrorism, as well as other violations of
Federal law, including gang, racketeering, and violence-related offenses. Prior to my
employment with the FBI, I was a servicemember with the United States Air Force for eight (8)
years.

         3.     The facts contained in this statement are based on personal knowledge or
information learned during this investigation from law enforcement sources or from witnesses.
This statement does not contain each and every detail known by your affiant regarding this
investigation. Instead, this statement provides information necessary to establish probable cause
to arrest the defendant, Shelby LIGONS, for a violation of Title 18, United States Code, Section
844(i). Except where indicated, all statements referenced herein are set forth in substance and in
part, rather than verbatim.

       4.      On the afternoon of May 30, 2020, protesters gathered in downtown Nashville
following the death of George Floyd in Minneapolis, Minnesota. After approximately two hours
of demonstrations, protest participants began marching through various locations in downtown
Nashville, passing by the Central Precinct for the Metropolitan Nashville Police Department
(“MNPD”), the Nashville Convention Center, and Lower Broadway.

        5.      In the evening on May 30, 2020, a number of persons gathered in front of
Nashville City Hall, also known as the Metro Courthouse or the historic courthouse, which is
located at 1 Public Square, Nashville, Tennessee 37201, in the Middle District of Tennessee. At
that time, persons using various tools, including crowbars and other objects, began smashing the
windows of City Hall and spraying graffiti on the City Hall façade. One or more fires were also
set inside City Hall at this time.

        6.     Numerous video clips and photographs of the destruction at City Hall were posted
on social media websites, on the websites for news outlets, and on other Internet sites. A black
female is depicted in video clips and photographs from that afternoon and evening wearing blue
jeans, a black-colored shirt, a medical mask, and a white-colored bandana on her head. In those
video clips and photographs, the female is depicted holding a white-colored poster board with
the words “Fuck The Police” and “We Will Not Be Silent” written on it. The word “Fuck”




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appears to be written in red-colored marker. Several of these photographs are attached to this
affidavit as Attachment A.

         7.      A review of these video clips and photographs revealed numerous identifying
features of this female. The female appears to be in her 20s or 30s, is tall, has a slender build, and
has long braids. The female is wearing large gold hoop earrings. The female also has numerous
unique tattoos on her body. They include (1) a tattoo of a word directly below her left clavicle;
(2) a tattoo of words, or some sort of writing, on her right arm; (3) a number of tattoos of what
appear to be flowers on her left forearm; (4) a curved tattoo on the left side of her abdomen; and
(5) a tattoo of a red sun on her left shoulder.

        8.      In several video clips which your affiant has reviewed, the female is depicted
setting fire to a white-colored poster and placing it inside a window located on the exterior
structure of City Hall. The word “Fuck,” which is written in red-colored marker, is visible on the
poster as the female sets the poster on fire. Screen captures from one of these video clips are
attached to this affidavit as Attachment B.

       9.      In another photograph, the female is depicted walking away from the fire at City
Hall. That photograph is attached to this affidavit as Attachment C.

        10.   In a photograph which your affiant has reviewed, the female is depicted holding
the above-described white-colored poster above her head. That photograph was disseminated via
social media and was posted on Instagram. Your affiant reviewed the photograph, along with
comments which were associated with the Instagram post. Located within the comment section,
an individual with the Instagram username “_keeleybreanne” tagged an individual with the
Instagram Username “_shelbypaigee”. That photograph is attached to this affidavit as
Attachment D.

        11.    Your affiant conducted Internet searches, including searches of Instagram and
Twitter, for the username “_shelbypaigee” and similar usernames. These searches revealed the
Instagram username “_shelbypaigee” and the Twitter username “@_shelbypaigee”.

        12.    Your affiant has reviewed the portion of the Instagram account bearing username
“_shelbypaigee” that is publicly available. The account itself is private, but does have a public
profile photo associated with it. That public profile photo depicts a black female who appears to
be in her 20s or 30s, is tall, and has a slender build.

        13.    Your affiant has also reviewed the publicly available account for the Twitter
account bearing username “@_shelbypaigee”. In several photographs posted to this Twitter
account, a black female, who appears to be in her 20s or 30s, who is tall and has a slender build,
who has long braids, and who is wearing large gold hoop earrings, is depicted standing in front
of a mirror while holding a cellular telephone and taking a picture of herself (a type of
photograph known as a “selfie”). The female depicted in this photograph has numerous unique
tattoos on her body. They include (1) a tattoo of the word “ipseity” (which, according to
Merriam-Webster’s online dictionary, means “individual identity”) directly below her left

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clavicle; (2) a number of tattoos of what appear to be flowers on her left forearm; and (3) a
curved tattoo on the left side of her abdomen. The female’s right arm is covered with clothing in
these photos. The left shoulder of the female depicted in these photos does not have a tattoo of a
red sun on it. These photographs are attached to this affidavit as Attachment E. Based upon an
analysis of where these photographs appeared on this Twitter feed relative to where other
photographs appeared on this Twitter feed, the photographs appear to have been posted between
approximately May 2018 and June 2019.

       14.    Additional searches on the internet for “_shelbypaigee” revealed a September
2019 advertisement for a pair of children’s UGG boots on an online buy-sell website called
“LetGo.” Located within the description of the advertisement was the name of the seller, Shelby
Ligons.

        15.     Agents conducted online database checks for the name Shelby Ligons, including a
check of the State of Tennessee Integrated Criminal Justice Portal (“Portal”). Within the Portal
website, registered law enforcement users can look up names of Tennessee residents and review
driver’s license information and photographs. Your affiant conducted a search in this Portal for
the name “Shelby Ligons.” The driver’s license photograph on file in the Portal for Shelby
Ligons appears to depict the same person as the person depicted in the public profile photo for
the Instagram account bearing username “_shelbypaigee” and the person depicted in the selfie
photographs described above that were posted to the Twitter account bearing username
“@_shelbypaigee”.

         16.     On June 4, 2020, MNPD posted on their publicly available Twitter page a request
for citizen tips regarding the identity of the black female described herein. At or around the same
time, the selfie photographs posted to the Twitter account bearing username “@_shelbypaigee”
were no longer publicly viewable. As of the date of this affidavit, the Twitter account bearing
username “@_shelbypaigee” is publicly available, but the selfie photographs described above are
no longer posted to the account.

        17.     On June 12, 2020, agents conducted physical surveillance of LIGONS at an
apartment complex where LIGONS is believed to reside in the middle Tennessee area. Agents
observed a tall black female with a slender build, wearing her hair up, in the parking lot of the
apartment complex. Agents also observed there to be a small tattoo located directly below the
left clavicle of this female. A photo of this female taken during this physical surveillance is
attached to this affidavit as Attachment F.

        18.    Agents also reviewed a Twitter account bearing the username
“@LPChelseaNicole,” which agents know to be used by LIGONS’s sister, W-1. On May 30,
2020, a post was made to that account which reads, “my little sister is out there protesting. let’s
all pray for her safety..cause lord knows”. A post was made to the same account on March 16,
2020, depicting a photograph that includes W-1’s name and date of birth. The Tennessee driver’s
license information database lists W-1’s date of birth; it is the same date of birth as that listed on
the photograph.


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        19.     On June 17, 2020, your affiant interviewed a probation officer at the Sumner
County Probation Office, located in Gallatin, Tennessee. This probation officer represented the
Probation Office during LIGONS’s appearance before the Sumner County General Sessions
Court in connection with a state probation matter on June 2, 2020, and spent time with LIGONS
during the hearing. During the probation officer’s interview with your affiant, the probation
officer positively identified LIGONS based on a current driver’s license photograph that your
affiant showed to the probation officer.

        20.    Your affiant also showed the probation officer the photograph taken of LIGONS
during the physical surveillance that the agents conducted on June 12, 2020. The probation
officer confirmed that the person depicted in the physical surveillance photo was LIGONS.

         21.     Your affiant also showed the probation officer photographs captured from
LIGONS’s public Twitter page on or about May 31, 2020. The probation officer could not
determine whether the person depicted in those photographs was LIGONS, but informed your
affiant that the person depicted in these photographs strongly resembled LIGONS. The probation
officer further informed your affiant that the officer remembered LIGONS as having long braids
of hair curled up and resting on the top of her head at her court appearance on June 2, 2020.

       22.      Your affiant also showed the probation officer the photograph depicted in
Attachment C. The probation officer did not know whether the person depicted in this
photograph was LIGONS, but informed your affiant that the person depicted in the photo looked
very similar to LIGONS, based on her body structure and long braids of hair.

       23.     On July 9, 2020, your affiant interviewed the probation officer at the Sumner
County Probation Office to whom LIGONS was assigned. The probation officer met with
LIGONS in person earlier on that same day during a mandatory probation meeting. During the
probation officer’s interview with your affiant, the probation officer informed your affiant that
she had viewed LIGONS’s tattoos earlier that morning. The probation officer also described
LIGONS’s tattoos to your affiant.

       24.     Specifically, the probation officer informed your affiant that LIGONS had a tattoo
(1) under her left clavicle of the word “ipseity”; (2) on her left shoulder of a red or orange-
colored fireball or sun; (3) on her upper left arm of the word “Perspective”; (4) on her upper left
arm, close to her elbow, of what appeared to be a tribal band; (5) on her lower left forearm, of
flowers on a vine, with what appeared to be a face located at the top of the vine near her elbow;
(6) on her lower right forearm, a quote from the book, “The Giving Tree”; and (7) on her left
abdomen, a tattoo similar to the Zodiac sign Aquarius, and of a fish bowl that is turned, causing
the water contained in it to spill out. The probation officer further informed your affiant that the
water being spilled out of the bowl was shaped in the form of the letter “J.”

        25.     After the probation officer described the tattoos above, your affiant showed the
probation officer the photograph depicted in Attachment C. The probation officer positively
identified the black female depicted in the photograph to be LIGONS, specifically pointing out
the following tattoos: (1) the red/orange-colored sun/fireball located on her left shoulder, (2) the

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tribal-looking band located on her lower left bicep, (3) the flowers located on her left forearm,
(4) the tattoo located underneath her left clavicle, and (5) the writing located on the inside of her
right forearm.

        26.    Your affiant also showed the probation officer the photographs depicted in
Attachment E. The probation officer confirmed that the individual depicted in the photographs
was LIGONS, specifically pointing out the “J-shaped” tattoo shown on the woman’s abdomen to
be the same as the one which was seen on LIGONS’s abdomen earlier in the day.

        27.   City Hall houses the Office of the Mayor of Nashville, along with many state and
local governmental offices.

        28.     City Hall partners with the Nashville Convention & Visitors Corp. (“NCVC”).
According to the NCVC website, to persons familiar with the operations of the NCVC, and to
other sources, the purpose of the NCVC is to maximize the economic contribution of the
convention and tourism industry in Nashville by developing and marketing Nashville as a
premier tourist destination. The NCVC does so by, among other things, participating in
tradeshows, conducting site visits, and organizing “Roadshows,” at which the NCVC coordinates
appointments and events for its members to interact with clients in the market. The NCVC has
sales staff in Nashville, Chicago, Atlanta, Washington, D.C., Philadelphia, Los Angeles, Denver,
and Dallas. Members of the NCVC routinely meet with Mayor’s Office personnel at City Hall,
for the purpose of conducting NCVC activities and furthering the NCVC’s mission, as described
above. The NCVC’s activities, for example, include leading the bid process (in partnership with
the Tennessee Titans) for the National Football League’s Draft, which was held in Nashville in
April 2019. The Draft drew approximately 600,000 tourists to Nashville, including tourists from
around the country, and resulted in approximately $133 million in direct spending in Nashville.
The NCVC also played a pivotal role in bringing an international flight between Nashville and
London to the Nashville International Airport.

        29.    City Hall also houses the Office of Economic Opportunity, which the Mayor’s
Office oversees, and whose functions are described on the City Hall website. The Office of
Economic Opportunity runs various programs and initiatives designed to encourage economic
and community development in Nashville. Those programs and initiatives include helping small
business owners and entrepreneurs to start and build successful businesses; connecting job-
seekers with potential employers in Nashville; and providing financial counseling, including
through a partnership with the United Way of Greater Nashville. Those programs and initiatives
also include promoting music and entertainment in Nashville through the Music City Music
Council, which is an association of business leaders charged with developing strategies toward
heightening the awareness and development of Nashville’s worldwide reputation as “Music
City.” The Music City Music Council focuses on, among other things, helping entertainment-
related businesses, conferences, and award shows expand or relocate to Nashville.

       30.    City Hall also houses managerial offices responsible for the City of Nashville’s
Finance Department. The Finance Department includes a Division of Grants and Accountability.
One of the Division’s roles is to conduct fiscal and programmatic monitoring of federal and state

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grants administered by various Metropolitan Nashville and Davidson County government
agencies to ensure compliance with federal, state, and local laws, regulations, stated outcomes
and results, and specific requirements of the grants programs.

        31.     Such governmental offices also include the Office of Transportation,
Infrastructure, and Sustainability. According to the City of Nashville website, this office is, in
part, responsible for climate change and sustainability initiatives for the City of Nashville, to
include Nashville’s role in the C40 Cities Climate Leadership Group (“Group”). The Group is a
coalition of 94 leading cities around the world focused on tackling climate change and driving
urban action that reduces greenhouse gas emissions.

        32.     City Hall is thus real property used in interstate and foreign commerce and in any
activity affecting interstate and foreign commerce.

       33.     Based upon the foregoing, your affiant submits that there is probable cause to
believe that the defendant, Shelby LIGONS, maliciously damaged or destroyed, or attempted to
damage or destroy, by means of fire or an explosive, any building, vehicle, or other real or
personal property used in interstate or foreign commerce or in any activity affecting interstate or
foreign commerce, in violation of Title 18, United States Code, Section 844(i).




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             Attachment A




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Case 3:20-mj-01082 Document 3-1 Filed 08/03/20 Page 20 of 25 PageID #: 24
              Attachment E




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